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                                                         Hearing Date: April 24, 2019 at 9:30 a.m. (Atlantic Time)
                                                     Objection Deadline: April 9, 2019 at 4:00 p.m. (Atlantic Time)

                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO
 ---------------------------------------------------------------------- X
                                                                        :
 In re:                                                                 :
                                                                        :
 THE FINANCIAL OVERSIGHT AND                                            : PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                        :
                   as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                        :
 THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                        :
                   Debtors.1                                            :
 ---------------------------------------------------------------------- X

     MOTION OF THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD OF
     PUERTO RICO FOR ENTRY OF AN ORDER EQUITABLY TOLLING THE TIME
      PRESCRIBED BY 11 U.S.C. § 546 TO BRING CERTAIN AVOIDANCE ACTIONS




 1   The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four
     (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
     Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
     Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
     Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
     Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
     Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
     Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
     Bankruptcy Case numbers due to software limitations).
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 To the Honorable United States District Court Judge Laura Taylor Swain:

         The Financial Oversight and Management Board for Puerto Rico (the “Oversight

 Board”), respectfully submits this motion (the “Motion”) for entry of an order, substantially in

 the form attached hereto as Exhibit A (the “Proposed Order”), equitably tolling the time

 prescribed by 11 U.S.C. § 546 for the Oversight Board to bring avoidance and recovery actions

 related to the payments made on account of certain bonds issued by the Commonwealth of

 Puerto Rico (the “Commonwealth”), the Employees Retirement System for the Commonwealth

 of Puerto Rico (“ERS”), and the Puerto Rico Public Buildings Authority (the “PBA”). In

 support of this Motion, the Oversight Board respectfully states as follows:

                                    PRELIMINARY STATEMENT2

         1.       Absent relief from this Court, the Oversight Board may be required to exercise

 rights to litigate all avoidance claims under sections 544, 547, 548, 550 of the Bankruptcy Code

 held by the Commonwealth and ERS not later than May 2, 2019 and May 20, 2019, respectively.

 The Oversight Board has been working diligently, on its own, and with the Oversight Board,

 AAFAF, and the UCC to identify and pursue valuable claims before they arguably expire. The

 Oversight Board and the UCC have likewise collaborated on, among other things, the Joint

 Claim Objection relating to certain GO Bonds, and have jointly contemplated the filing of

 Avoidance Actions to recover payments made on account of the Challenged Bonds.                           The

 Oversight Board has discussed this Motion with the UCC.

         2.       The Commonwealth and its instrumentalities made billions of dollars in payments

 of principal and interest to purported holders of Challenged Bonds during the four-year lookback

 period prior to the commencement of these Title III Cases. To pursue avoidance and recovery of

 2   Capitalized terms employed in this Preliminary Statement have the meanings ascribed to them below.


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 these payments, the Oversight Board must identify the holders of Challenged Bonds who

 received payments of purported principal and interest, which payments may be avoidable under

 PROMESA and the Bankruptcy Code, depending on the outcome of the Joint Claim Objection,

 the ERS Bond Objection, and the Ad Hoc Objection, respectively.

        3.          Because Puerto Rico did not designate an indenture trustee to administer the

 Challenged Bonds, the Oversight Board must independently identify each beneficial holder of

 the Challenged Bonds, at the time of each payment date for each CUSIP for each of the

 Challenged Bonds. At this time, the Oversight Board, together with the UCC, has been unable to

 complete this massive undertaking.

        4.          The Oversight Board has acted promptly to appoint a special committee and retain

 professionals to discharge its duty under PROMESA to, among other things, investigate and

 pursue potential viable claims and causes of action. Claims Counsel to the Oversight Board

 promptly requested, and has been and is reviewing, among other things:

             i.        The 600-page Final Report outlining, but not recommending or
                       describing in detail, certain litigation claims, not including avoidance
                       claims under the Bankruptcy Code;

             ii.       Approximately 80,000 documents provided so far that support the
                       facts and legal analysis contained in the Final Report, representing
                       only 40% of the 200,000 documents believed to exist;

             iii.      Records of tens of thousands of transfers by the Title III debtors to
                       third parties during the four-year avoidance period prior to the Petition
                       Dates;

             iv.       Securities Position Reports similar to, but not adequately substituting
                       for, the approximately five hundred and ninety-six (596) reports




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                      requested by the Oversight Board to provide insight into bond
                      payments to financial institutions on behalf of beneficial holders3; and

              v.      Hundreds of notices of participation filed in connection with the Joint
                      Claim Objection evidencing current holders of the Challenged GO
                      Bonds and the complications in providing due process to bondholders
                      in these unusual circumstances.

         5.        At the time of this filing, requested documents continue to trickle in.

 Nonetheless, the Oversight Board continues to review and assess potential claims and causes of

 action and is assembling appropriate pleadings to preserve valuable claims. As a result of these

 efforts, the Oversight Board is prepared to file hundreds of complaints to preserve potential

 Avoidance Actions and to seek consensual tolling of, or otherwise pursue, potential third party

 claims relating to Puerto Rico’s financial crisis. However, it simply has been unable to confirm

 the identity of all appropriate Challenged Bond Avoidance Defendants, given an apparent lack of

 any central record-keeping to track exactly which bondholders received payments on which

 dates, and in what amounts.

         6.        It is not equitable to deprive the bankruptcy estates, and thus the Commonwealth

 and its legitimate creditors, of material value simply because a statute of limitations expires

 before the Oversight Board’s best efforts reveal appropriate defendants for its litigation claims.

 Moreover, it is not equitable to force the Oversight Board and Challenged Bond Avoidance

 Defendants to incur significant costs to litigate these claims—which will almost certainly include

 negotiation and litigation of procedures to guarantee due process, which procedures must

 themselves interlock with procedures in the related Joint Claim Objection litigation and related

 procedural orders expected to be obtained—before diligence is concluded and litigation


 3   The 596 reports do not include requests that have been made, or may be made, with respect to the ERS Bonds,
     the PBA Bonds and earlier issuances of the GO Bonds that are not, at this time, subject to the pending Joint
     Claim Objection.

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 establishes, or not, the legal basis for the avoidance and recovery of payments made on account

 of the Challenged Bonds.        The Oversight Board thus respectfully requests that the Court

 equitably toll the statute of limitations as applied to the Commonwealth solely with respect to the

 Challenged Bonds Avoidance Actions so that such litigation, if necessary, may be brought later

 on, when both the underlying claims and the identity of the appropriate defendants may be

 concretely established.

                                   JURISDICTION AND VENUE

          7.     The United States District Court for the District of Puerto Rico (the “Court”) has

 subject matter jurisdiction over this matter pursuant to section 306(a) of the Puerto Rico

 Oversight, Management, and Economic Stability Act (“PROMESA”).4

          8.     Venue is proper pursuant to PROMESA § 307(a).

                                    STATUTORY PREDICATE

          9.     The Oversight Board brings this Motion pursuant to 11 U.S.C. §§ 105(a) and 546,

 each as incorporated into PROMESA § 301(a).

                                    FACTUAL BACKGROUND

                 General Background

          10.    “Serious economic downfall…has ailed the Commonwealth of Puerto Rico since

 the turn of the 21st Century.” Aurelius Inv., LLC v. Puerto Rico, 915 F.3d 838, 843 (1st Cir.

 2019).

          11.    In June of 2015, the Governor of Puerto Rico declared that the Commonwealth

 was “unable to meet its $72 billion public debt obligation,” underscoring the severity of the

 island’s financial crisis. Id. (citing Michael Corkery & Mary Williams Walsh, Puerto Rico’s

 4   PROMESA has been codified at 48 U.S.C. §§ 2101-2241.


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 Governor Says Island’s Debts Are “Not Payable”, N.Y. Times (June 28, 2015),

 https://www.nytimes.com/2015/06/29/business/dealbook/puerto-ricos-governor-says-islands-

 debts-are-not-payable.html).

           12.   Although the Commonwealth attempted to exercise independent authority to

 restructure and renegotiate its debts, the United States Supreme Court held that it lacked

 authority to do so, thus effectively requiring Congress to intervene to prevent a humanitarian

 crisis.    See Puerto Rico v. Franklin Cal. Tax-Free Trust, 136 S.Ct. 1938, 1950 (2016)

 (Sotomayor, J., dissenting) (describing that “vital public services will be imperiled, including the

 utilities’ ability to provide safe drinking water, maintain roads, and operate public transportation”

 as a result of Puerto Rico’s fiscal crisis).

           13.   In June 2016, Congress enacted PROMESA to, among other things, permit the

 Commonwealth to restructure its debts in a manner analogous to Chapter 9 of the Bankruptcy

 Code. See PROMESA § 301 (incorporating provisions of the Bankruptcy Code). PROMESA

 empowers the Oversight Board to act as the representative of Puerto Rico and its agencies and

 instrumentalities as debtor entities, assuming the role ordinarily granted to a chapter 9 debtor or

 trustee. See PROMESA §§ 301, 315.

           14.   Under PROMESA, the Oversight Board’s central purpose is “to provide a method

 for a covered territory to achieve fiscal responsibility and access to the capital markets.”

 PROMESA § 101(a).

           II.   Case Background

           15.   On May 3, 2017 (the “Commonwealth Petition Date”), the Oversight Board

 initiated a Title III debt adjustment proceeding on behalf of the Commonwealth (the

 “Commonwealth Title III Case”). On May 21, 2017 (the “ERS Petition Date,” and together with


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 the Commonwealth Petition Date, the “Petition Dates”), the Oversight Board initiated a Title III

 debt adjustment proceeding on behalf of ERS (the “ERS Title III Case”). Concurrently therewith

 or shortly thereafter, the Oversight Board filed several other Title III cases on behalf of certain

 other Commonwealth government instrumentalities (together with the Commonwealth Title III

 Case and the ERS Title III Case, the “Title III Cases”).

        16.     Since the Petition Dates, the Oversight Board has worked tirelessly to accomplish

 its purpose under PROMESA. To this end, the Oversight Board effected the out-of-court

 restructuring of the Government Development Bank of Puerto Rico (“GDB”), which settled at

 least $2.45 billion in claims against the GDB. See Findings Of Fact, Conclusions Of Law, And

 Order Approving Qualifying Modification For The Government Development Bank For Puerto

 Rico Pursuant To Section 601(m)(1)(D) Of The Puerto Rico Oversight, Management, And

 Economic Stability Act, Case No. 18-1561 (D.P.R. 2018), ECF No. 270; see also Press Release,

 Oversight Board Authorizes Government Development Bank to Restructure Debts Under Title

 VI of PROMESA, July 14, 2017.

        17.     Additionally, the Oversight Board finalized a plan of adjustment in the Title III

 case of the Puerto Rico Sales Tax Financing Corporation (“COFINA”), which restructured all

 $17.6 billion of COFINA debt, which debt, represented twenty-four percent of the

 Commonwealth’s total bonded debt. See Amended Order And Judgment Confirming The Third

 Amended Title III Plan Of Adjustment Of Puerto Rico Sales Tax Financing Corporation, Case

 No. 17-3283, ECF No. 5055.

        18.     Cognizant of the Commonwealth’s overwhelming debt burden and complex

 financial affairs, and the potential for humanitarian disaster upon default by the

 Commonwealth’s numerous departments, agencies, and instrumentalities, the Oversight Board

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 also exercised its investigatory powers under PROMESA section 104(o) to implement a Special

 Investigation Committee shortly after the Petition Dates.         It charged the committee with

 investigating, among other issues, causes of the financial crisis facing the Commonwealth and its

 instrumentalities.

        19.     The Special Investigation Committee retained Kobre and Kim (the “Independent

 Investigator”) to examine the complex economic history of the Commonwealth. To this end, the

 Independent Investigator conducted an investigation including:


                (i) a review of the factors contributing to Puerto Rico’s fiscal
                crisis, including changes in the economy, expansion of spending
                commitments and entitlement programs, changes in the federal
                funding it receives, and its reliance on debt to finance a structural
                budget deficit; (ii) a review of Puerto Rico’s debt, the general use
                of proceeds, the relationship between the debt and Puerto Rico’s
                structural budget deficit, the range of its debt instruments, and how
                Puerto Rico’s debt practices compare to the debt practices of states
                and large municipal jurisdictions; and (iii) a review of Puerto
                Rico’s debt issuance, disclosure, and selling practices, including its
                interpretation of Puerto Rico’s constitutional debt limit.

 (such activities, the “Investigation”). See id. Motion of the Independent Investigator for an

 Order: (I) Establishing Procedures for Resolving any Confidentiality Dispute in Connection with

 Publication of the Independent Investigator’s Final Report; (II) Relieving the Independent

 Investigator from Certain Discovery Obligations; (IV) Exculpating the Independent Investigator

 in Connection with the Investigation and Publication of the Final Report: and (V) Granting

 Related Relief, ECF No. 3427 (Independent Investigator motion describing purview).

        20.     The Investigation was massive.         It concluded in August 2018 when the

 Independent Investigator published an approximately 600-page Final Report, supported by

 hundreds of witness interviews and a review of 200,000 documents (about 2,000,000 pages)

 received from numerous parties. See id.; Notice of the Independent Investigator Regarding

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 Publication of Final Report, ECF No. 3774 (Independent Investigator notice describing final

 report).

            21.   Within a few days of receiving the published Final Report, the Oversight Board

 executed a unanimous written consent appointing the independent Special Claims Committee to

 pursue claims resulting from the findings of the Investigation. See Press Release, Oversight

 Board Establishes Special Claims Committee To Pursue Findings Of Debt Investigation Report,

 August 29, 2018. The Oversight Board then issued a Request for Proposals for counsel to the

 newly formed committee.

            22.   On November 28, 2018, the Oversight Board, acting by and through its Special

 Claims Committee, retained Brown Rudnick LLP as counsel to the Special Claims Committee to

 assist the Special Claims Committee in the investigation of potential claims that might arise from

 conduct described in the Final Report (“Claims Counsel”). Additionally, in February 2019, the

 Special Claims Committee retained a financial advisory firm to assist Claims Counsel in its

 investigation of potential claims.

            23.   The Final Report was not intended to identify Avoidance Actions 5 and other

 potential claims the Commonwealth and its instrumentalities might hold against individuals and

 entities involved in the Commonwealth’s financial transactions.                    Rather, the Final Report

 outlined the necessary informative and analytical background which would serve as a

 springboard for the Special Claims Committee to identify actionable claims that the

 Commonwealth and its instrumentalities might hold relating to the Commonwealth’s financial

 crisis.



 5   Causes of action arising under sections 544, 545, 547, and 548 of the Bankruptcy Code.


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         III.     Oversight Board’s Diligent Exercise of its Duties

         24.      Immediately after its retention, Claims Counsel began investigating and testing

 the conclusions in the Final Report to determine and recommend whether there were viable

 causes of action that the Oversight Board could assert.

                       A. Oversight Board’s Objection to General Obligation Bond Claims
                          and Avoidance Actions Related to General Obligation Bond Claims

         25.      During Claims Counsel’s analysis of the Final Report—in particular, the practices

 related to the Commonwealth government’s interpretation of the Puerto Rico Constitution’s debt

 limit provision—Claims Counsel advised the Special Claims Committee that there were serious

 legal infirmities to several Commonwealth of Puerto Rico General Obligation Bonds (the “GO

 Bonds”).

         26.      Based on Claim Counsel’s advice, the Oversight Board, in discharge of its duties

 under PROMESA, and acting by and through the Special Claims Committee, joined the Official

 Committee of Unsecured Creditors (the “UCC”) in commencing litigation contending that

 several 2012 and 2014 issuances of GO Bonds (the “First Challenged GO Bonds”)6 violated

 Puerto Rico’s constitutional debt limit, and that claims by purported holders of the First

 Challenged GO Bonds for principal and interest should be disallowed. See Omnibus Objection

 of (I) Financial Oversight and Management Board, Acting through its Special Claims

 Committee, and (II) Official Committee of Unsecured Creditors, Pursuant to Bankruptcy Code

 Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain

 Commonwealth General Obligation Bonds, ECF No. 4784 (the “Joint Claim Objection”).


 6   In paragraph eleven of the Joint Claim Objection (as defined in this Motion), the Oversight Board and the UCC
     reserved their right “to raise additional objections to the validity of other issuances of GO bonds.” See ECF No.
     4784 at ¶ 11 (emphasis added).


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        27.    The filing of the Joint Claim Objection was not a simple task; rather, it was

 replete with procedural obstacles. The GO Bonds are unlike typical municipal bond issuances in

 that there is no indenture trustee to represent the interests of the GO bondholders. Because the

 GO Bonds do not have an indenture trustee, holders of GO Bonds are not required to file a proof

 of claim in the Commonwealth Title III Case. See id.; Order (A) Establishing Deadlines and

 Procedures for Filing Proofs of Claims and (B) Approving Form and Manner of Notice Thereof,

 ECF No. 2521.

        28.    Accordingly, providing procedural due process (including but not limited to

 appropriate notice) to all potential purported holders of the First Challenged GO Bonds regarding

 the Joint Claim Objection required that the UCC and Oversight Board propose a robust

 procedure by which all purported holders of First Challenged GO Bonds could be notified of the

 Joint Claim Objection and have an opportunity to respond to the Joint Claim Objection. See

 Urgent Motion of (I) Financial Oversight and Management Board, Acting through its Special

 Claims Committee, and (II) Official Committee of Unsecured Creditors, Under Bankruptcy Code

 Sections 105(a) and 502 and Bankruptcy Rule 3007, Establishing Procedures with Respect to

 Omnibus Objection to Claims Filed or Asserted by Holders of Certain Commonwealth General

 Obligation Bonds and Requesting Related Relief, ECF No. 4788 (the “Initial Procedures

 Motion;” the procedures contained therein, the “Procedures”).

        29.    Several purported holders of First Challenged GO Bonds objected to the

 Procedures Motion. See Response and Objection to Docket 4788 and 4789, FOMB’s Purported

 Urgent Motion of Individual Bondholder Residing in the 50 States Who Purchased in 2012 at the

 Original Offering Price, ECF No. 4913 (objection by individual investor); Joint Objection to the

 Motion of the Special Claims Committee and Official Committee of Unsecured Creditors to

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 Establish Omnibus Objection Procedures Regarding Certain GO Bonds; ECF No. 4923

 (objection by the Constitutional Debtholder Group, Commonwealth Bondholder Group, Assured

 Guaranty Corp., and Assured Guaranty Municipal Corp.); Objection of the Oppenheimer Funds

 to Urgent Motion of (I) Financial Oversight and Management Board, Acting through its Special

 Claims Committee, and (II) Official Committee of Unsecured Creditors, Under Bankruptcy Code

 Sections 105(a) and 502 and Bankruptcy Rule 3007, Establishing Procedures with Respect to

 Omnibus Objection to Claims Filed or Asserted by Holders of Certain Commonwealth General

 Obligation Bonds, ECF No. 4924 (objection by Oppenheimer Funds); Joinder by Autonomy

 Capital to the Joint Objection to the Motion of the Special Claims Committee and Official

 Committee of Unsecured Creditors to Establish Omnibus Objection Procedures Regarding

 Certain GO Bonds, ECF No. 4925 (objection by Autonomy Capital (Jersey) LP).

        30.    The Court granted the Initial Procedures Motion with modifications to the initially

 proposed Procedures. See Order, Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule

 3007, Establishing Initial Procedures with Respect to Omnibus Objection of (I) Financial

 Oversight and Management Board, Acting through its Special Claims Committee, and (II)

 Official Committee of Unsecured Creditors, to Claims Filed or Asserted by Holders of Certain

 Commonwealth General Obligation Bonds and Granting Related Relief,              ECF No. 5143.

 Pursuant to the approved Procedures, (1) the Depository Trust and Clearing Corporation

 (“DTC”) must post a notice of the Joint Claim Objection in its legal notification system; (2) a

 notice of the Joint Claim Objection must be published in several English-language and Spanish-

 language newspapers; and (3) the affected purported holders of Challenged Bonds are identified

 by the thirty-seven (37) CUSIPs identified in the Joint Claim Objection. Furthermore, the

 Procedures establish that purported holders of Challenged Bonds have sixty (60) days from the

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 date of this Court’s order granting the Initial Procedures Motion by which to file a Notice of

 Participation, which must provide, among other facts, whether the purported holder of the

 Challenged Bonds opposes the Joint Claim Objection.          As of the time of this filing,

 approximately eight hundred and thirty (830) Notices of Participation have been filed; more

 arrive each day.

                    B. UCC and GO Bondholders Raise Additional Bond Challenges

        31.     After the filing of the Joint Claim Objection, the UCC and an ad hoc group of

 general obligation bondholders (the “Ad Hoc GO Bondholders”) filed similar challenges to

 additional issuances of bonds by the Commonwealth and its instrumentalities.

        32.     On March 12, 2019, the UCC filed the Omnibus Objection of Official Committee

 of Unsecured Creditors to Claims Asserted by Holders of Bonds Issued by Employees Retirement

 System of Government of Puerto Rico [sic], ECF No. 5580 (the “ERS Bond Objection”),

 contending that ERS issued approximately $3.5 billion of bonds ultra vires, and thus that such

 bonds (the “ERS Bonds”) are null and void.

        33.     On April 2, 2019, a group of holders of First Challenged GO Bonds filed the

 Omnibus Conditional Objection of the Ad Hoc Group of General Obligation Bondholders to

 Claims Filed or Asserted by the Public Buildings Authority, Holders of Public Buildings

 Authority Bonds, and Holders of Certain Commonwealth General Obligation Bonds, ECF No.

 6099 (the “Ad Hoc Objection”), contending that, should the Court accept various factual and

 legal premises contained in the Joint Claim Objection, the Court should find on similar grounds

 that certain series of Public Building Authority Bonds (“PBA Bonds”) and additional GO Bonds




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 (the “Second Challenged GO Bonds”) were also null and void.7                         Hereinafter, the Second

 Challenged GO Bonds shall together with the First Challenged GO Bonds be referenced as the

 “Challenged GO Bonds;” and the Challenged GO Bonds together with the PBA Bonds and ERS

 Bonds shall collectively be referred to as the “Challenged Bonds.”8

                      C. Extraordinary Circumstances
                         Surrounding Identification of Avoidance Action Defendants

         34.      Simultaneous with the Joint Claim Objection, the Oversight Board and the UCC

 recognized that, to the extent successful in the Joint Claim Objection (and to the extent that other

 bond issuances could be null and void), the Oversight Board would have grounds to avoid and

 recover—or “claw back” payments on the Challenged Bonds. In sum, the Oversight Board

 asserts that, to the extent that the First Challenged GO Bonds were legally null, the

 Commonwealth had no legal obligation to make payments to purported holders.                              Thus, it

 received no reasonably equivalent value in return for payments of purported principal and

 interest. Moreover, any such payments may have been issued at a time when the Commonwealth

 was insolvent, and otherwise may have satisfied the legal standard to plead, among other causes

 of action, causes of action in the nature of constructive fraudulent transfer. Similarly, these same

 “claw back” causes of action could also apply to the other Challenged Bonds (collectively, the

 “Challenged Bonds Avoidance Actions”).

         35.      The Oversight Board has left no stone unturned in its efforts to identify potential

 defendants to the Challenged Bonds Avoidance Actions. As of the time of this filing, its efforts

 7   The validity of the PBA lease structure was also challenged as part of the Complaint for Declaratory Relief and
     Disallowance of Administrative Rent Claims by the Oversight Board and UCC at ECF. No. 1 in Adv. Proc. 18-
     149-LTS.
 8   See above footnote 5. The definition of Challenged Bonds in this Motion includes any additional GO Bond
     issuances which the Oversight Board, pursuant to its reservation of rights, seeks to add to the Joint Claim
     Objection.


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 have not resulted in the information necessary to identify the ultimate recipients of such

 potentially avoidable transfers (“Challenged Bond Avoidance Defendants”).

        36.     As explained above, the Challenged Bonds have no indenture trustee.           The

 Oversight Board has engaged in numerous discussions and made numerous inquiries to third-

 party professionals involved in the issuances of the Challenged Bonds, the Oversight Board’s

 bankruptcy counsel and financial advisors, and counsel and financial advisers to the Puerto Rico

 Fiscal Agency and Financial Advisory Authority (“AAFAF”). Unfortunately, these parties have

 not been able to provide the information necessary to identify all of the Challenged Bond

 Avoidance Defendants.

        37.     The Oversight Board is not working alone. In continuation of their collaborative

 effort regarding the Joint Claim Objection, the Oversight Board and the UCC are coordinating to

 identify the ultimate recipients of such potentially avoidable transfers. The UCC’s professionals

 have assisted in compiling lists of CUSIPs and payment dates necessary to identify Challenged

 Bond Avoidance Defendants once source data can be obtained, and in investigating potential

 sources for the data itself. The Oversight Board and the UCC have been in near-daily contact

 regarding these efforts and the necessity for the Oversight Board to seek the relief requested in

 this Motion.

        38.     Furthermore, the Oversight Board and the UCC have joined efforts in examining

 the payment history of the debtors requested by the UCC in its Motion of Official Committee of

 Unsecured Creditors for Order, Under Bankruptcy Rule 2004, Authorizing Discovery of Title III

 Debtors, Other Than COFINA, Concerning Potential Avoidance Actions, ECF No. 4373 (the

 “2004 Examination”), which motion was granted by this Court in December 2018. See id.; Order

 Granting Motion of Official Committee of Unsecured Creditors for Order, Under Bankruptcy

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 Rule 2004, Authorizing Discovery of Title III Debtors, Other than COFINA, Concerning

 Potential Avoidance Actions, ECF No. 4484. The 2004 Examination production is a history of

 hundreds of thousands of prepetition payments made by the Commonwealth, contained in

 voluminous Excel files. None of the information in the 2004 Examination production, which

 information has been delivered on a piecemeal basis since Decembers 2018, has allowed the

 Oversight Board to identify the Challenged Bond Avoidance Defendants.

        39.    Simultaneous with its collaboration with the UCC, the Special Claims

 Committee’s Claims Counsel requested access to the document depository underlying the Final

 Report (the “Document Depository”) immediately after its retention in November 2018 in

 accordance with this Court’s Order Approving Motion of the Independent Investigator for an

 Order: (I) Establishing Procedures for Resolving any Confidentiality Dispute in Connection with

 Publication of the Independent Investigator’s Final Report; (II) Approving the Disposition of

 Certain Documents and Information; (III) Relieving the Independent Investigator from Certain

 Discovery Obligations; (IV) Exculpating the Independent Investigator in Connection with the

 Investigation and Publication of the Final Report; and (V) Granting Related Relief (the “Exit

 Plan Order”) at ECF No. 3744.

        40.    Since securing access to approximately 84,000 documents in the Document

 Depository (with access to other documents pending), Claims Counsel has vigorously searched

 for, among other things, information regarding payments and holder identities for the Challenged

 Bonds. Claims Counsel continues to examine these documents, thus far without success as to the

 identity of recipients of payments to the Challenged Bonds or any leads as to where a

 comprehensive record of that information might reside.




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         41.      Based on the information available to the Oversight Board, it appears that, when

 the Commonwealth and its instrumentalities made payments on the Challenged Bonds, it

 transferred the funds to DTC, which transferred the payments to various participant financial

 institutions likely holding bonds on behalf of purported beneficial holders (the “Participant

 Holders”).9 The Participant Holders then likely transferred all, or a portion of, the payments to

 its customers.10

         42.      Accordingly, the Oversight Board has begun coordinating with DTC, via Prime

 Clerk in compliance with a recommended procedure, to obtain bond payment records. The

 Oversight Board has been informed that DTC may not maintain a database of historical payment

 records.

         43.      Rather, DTC is willing and able to provide, for a fee, “Security Position Reports”

 showing the participant holders of bonds on any given Friday. In other words, the Oversight

 Board is able to understand from these reports not how much money was paid to whom, but only

 which financial institutions held the bonds on the Friday preceding and/or following the

 payments.

         44.      Nevertheless, the Oversight Board has requested these reports and will use the

 resulting data, to the extent required to do so to preserve and prosecute its claims, by

 approximating the amounts paid to Participant Holders on various payment dates based on


 9   It is possible that the Participant Holders were beneficial holders or otherwise served as “initial transferees” of
     bond payments for purposes of the Bankruptcy Code, and thus may be Challenged Bond Avoidance
     Defendants. The Oversight Board reserves all rights to timely allege claims and causes of action against the
     Participant Holders.
 10 The Oversight Board will be prepared to file a motion pursuant to Federal Rule of Bankruptcy Procedure 2004
     and 1007(i) for the examination of any entities believed to have records or any information that can lead to the
     identity of the potential defendants to the Challenged Bonds Avoidance Actions if such a motion is warranted.
     As of the filing of this Motion, the Oversight Board cannot file such a motion because it does not have the
     requisite Participant Holder information necessary to direct the examination to the proper entities.


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 information contained in Security Position Reports.11 Moreover, as necessary, the Oversight

 Board will begin contacting Participant Holders to obtain their payment records to identify the

 information required to file Challenged Bonds Avoidance Actions. The Oversight Board expects

 these inquiries to be fruitful.

          45.      To be clear, requesting the Security Position Reports is no small task. For any

 given CUSIP of any Challenged Bond, the Oversight Board must order a Security Position

 Report for each date the CUSIP is believed to have been paid within the applicable lookback

 period for a constructive fraudulent transfer. By way of example, as discussed above, there are

 thirty-seven (37) CUSIPS currently subject to the Joint Claim Objection, some of which CUSIPs

 were paid semi-annually whereas others were paid monthly.12

          46.      The Oversight Board has ordered five hundred and ninety-six (596) Security

 Position Reports. As of the time of this filing, approximately a week after issuing the order, the

 Oversight Board is attempting to confirm with Prime Clerk that DTC received the order.13

          47.      It is not clear when the Security Position Reports will be delivered.14 Once the

 reports are delivered, the Oversight Board will require time to review and analyze each of the


 11 The Oversight Board has requested Security Position Reports only with respect to the First Challenged GO
     Bonds. The Oversight Board will request Security Position Reports as to the other Challenged Bonds as quickly
     as possible under the circumstances.
 12 There are an additional three First Challenged GO Bond CUSIPs that were not subject to the Joint Claim
     Objection but nevertheless may form the basis for Challenged Bonds Avoidance Actions. These CUSIPS
     represent series of GO Bonds that matured and were satisfied prior to the Commonwealth Petition Date, thus
     not forming the basis for any claims against the Commonwealth estate.
 13 The Oversight Board’s order to DTC may have been complicated, in part, by the Oversight Board’s request for
    DTC to honor the discount advertised on DTC’s website concerning Security Position Reports for municipal
    bonds. The discount, if applied, would reduce fees by 85% and save the estates approximately $60,000. The
    Oversight Board received an initial indication from Prime Clerk that the discount might not apply; it thus
    requested confirmation of pricing prior to execution of the order and generation of an invoice.
 14 On April 2, 2019, hours prior to the filing of this Motion, the Oversight Board received a message from Prime
    Clerk indicating that the reports would be delivered on or about April 5, 2019. It is not clear how reliable this
    projection may be.


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 nearly six hundred reports to identify payments likely made to each of potentially dozens of

 Participant Holders made, per report. In other words, identifying at best a fraction of the

 Challenged Bond Avoidance Defendants will entail analyzing approximately 6,000 – 15,000

 payments implied by a review of 596 documents.15 Even if the reports can be delivered minutes

 after the filing of this Motion (which is not expected), the Oversight Board’s professionals face

 an extraordinary challenge in conducting the appropriate analysis to determine if Participant

 Holders made payments to their respective customers, and if so, to obtain the customer name,

 amounts paid and on what dates such payments were made as to each Challenged Bond in order

 to identify the appropriate Challenged Bond Avoidance Defendants.

         48.      Moreover, as the ERS Bond Objection and Ad Hoc Objection were filed only

 recently (the Ad Hoc Objection only hours before the filing of this motion), and not by the

 Oversight Board, the Oversight Board has only just begun the process of obtaining similar

 payment records with respect to the ERS Bonds, PBA Bonds, and Second Challenged GO

 Bonds, including tabulating the CUSIPs and payment dates for the other Challenged Bonds in

 order to request potentially hundreds more Security Position Reports. While the ERS Bonds and

 PBA Bonds were administered through fiscal agents, with whom the Oversight Board has had

 some contact during these Title III Cases, it is not yet certain whether it will still be required to

 go through the same exercise as required for the Challenged GO Bonds.




 15 In other words, the Security Position Reports are expected to identify approximately 10-25 Participant Holders
     for each CUSIP on the Friday after each of the 596 First Challenged GO Bond CUSIP payment dates, which
     will thus imply a total of 6,000-15,000 payments to Participant Holders. The Oversight Board has reason to
     believe that some or all of the Participant Holders were also beneficial holders and thus Challenged Bond
     Avoidance Defendants. However, the Participant Holders also likely transferred portions of the payments to
     their customers, which customers—not identified in the Security Position Reports—would also be Challenged
     Bond Avoidance Defendants.


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         49.      The statute of limitations within which to bring Challenged Bonds Avoidance

 Actions relating to GO Bonds and PBA Bonds expires on May 2, 2019 pursuant to 11 U.S.C. §

 546(a)(1), and the statute expires on May 20, 2019 with respect to actions relating to the ERS

 Bonds. In sum, at the time of this filing, it appears likely that the statute of limitations will

 expire before the Oversight Board can reliably identify all appropriate Challenged Bond

 Avoidance Defendants, despite its best efforts.

                      D. Extraordinary Circumstances Militating Against Cost Incurrence

         50.      The Oversight Board also remains cognizant that the exercise of filing potentially

 hundreds of Challenged Bonds Avoidance Actions would be extraordinarily complicated, and

 might prove unnecessary.

         51.      The Oversight Board is mindful of the costs of litigation, both to the

 Commonwealth and respondents. Indeed, with respect to the Joint Claim Objection, the Court

 appreciated the need for broad notice procedures and provision of significant time for individual

 and institutional purported bondholders to understand legal documents and retain counsel, as

 shown by the Procedures approved by the Court following significant negotiation and briefing.

         52.      The Challenged Bonds Avoidance Actions would no doubt complicate the

 Procedures with respect to the Joint Claim Objection, the ERS Bond Objection, and the Ad Hoc

 Objection—indeed, the Ad Hoc Go Bondholders filed a separate request to establish procedures

 for resolution of its Ad Hoc Objection.16 The Oversight Board expects that many Challenged

 Bond Avoidance Defendants are already burdened with responding to these objections, and may



 16 See Motion of the Ad Hoc Group of General Obligation Bondholders, Under Bankruptcy Code Sections 105(a)
     and 502 and Bankruptcy Rule 3007, Establishing Procedures with Respect to Omnibus Conditional Objection
     to Claims Filed or Asserted by the Public Buildings Authority, Holders of Public Buildings Authority Bonds,
     and Holders of Certain Commonwealth General Obligation Bonds, at ECF No. 6104.

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 be burdened with an additional layer of cost not only in responding to the contemplated litigation

 but in understanding the relationships between the various pieces of litigation and fashioning

 procedural measures to ensure due process and efficient resource allocation to adjudicate

 coextensive legal issues. Other Challenged Bond Avoidance Defendants may have to retain

 counsel for the first time and grapple with the complex legal and factual allegations, much as

 respondents to the Joint Claim Objection have been doing for the past several months.

         53.      This effort and cost may not be necessary. The Challenged Bonds Avoidance

 Actions would be premised in large part on the arguments raised in the Joint Claim Objection

 and ERS Bond Objection.17 If this Court finds that the Challenged Bonds were issued validly

 after the Oversight Board files hundreds of Challenged Bonds Avoidance Actions, potentially

 hundreds of defendants would have been required to incur litigation costs for ultimately meritless

 litigation. Likewise, the Oversight Board would have irrevocably spent estate resources better

 allocated elsewhere in the interests of the Commonwealth and legitimate creditors.

                       E. Oversight Board Diligence Concerning All Other Avoidance Actions

         54.      The Oversight Board anticipates filing potentially several hundred Avoidance

 Actions unrelated to the Challenged Bonds.18 These actions are the result of collaboration with

 the UCC and both parties’ professionals to collect and review tens of thousands of payment

 records, assess potential claims and prepare and file complaints prior to the May 2, 2019

 deadline.19


 17 The Ad Hoc Objection is likewise premised in large part on arguments raised in the Joint Claim Objection.

 18 The Oversight Board is continuing its diligence with respect to Avoidance Actions, and thus, cannot accurately
     state how many Avoidance Actions it will determine to pursue.
 19 The Oversight Board’s identification and pursuit of these, and other, Avoidance Actions will be disclosed to the
    UCC pursuant to the Order Granting the Urgent Motion of Official Committee of Unsecured Creditors for
    Order, Under Bankruptcy Code Sections 105(a) and 926(a) and Bankruptcy Rule 9006, Establishing (I)

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         55.      Notably, the UCC’s 2004 Examination initially included only two years of

 prepetition payment history for all Title III debtors.             At the Special Claims Committee’s

 insistence, however, the scope of the 2004 Examination was expanded to include a total of four

 years of payment history to capture the longer statute of limitations provided in Puerto Rico’s

 correlative to constructive fraudulent transfer law.20

         56.      The Oversight Board is also prepared to file potentially several hundred

 Avoidance Actions on behalf of all other Title III debtors.                 These debtors, too, produced

 voluminous files of prepetition transfers, which the Special Claims Committee, Claims Counsel,

 and their financial advisers are analyzing.

         57.      In addition, as previously noted, Claims Counsel continues to review those

 portions of the Document Depository to which it has access in order to assess potential claims

 that may be asserted against third parties related to Puerto Rico’s financial crisis. However,

 obtaining limited access to the Document Depository has involved the negotiation of numerous

 non-disclosure agreements and electronic permission protocols.                   Notwithstanding looming

 statute of limitation deadlines (including but not limited to the section 546 deadline in May

 2019) and Claims Counsel’s diligence, Claims Counsel was not able to secure any access to the

 database until March 2019, and even today only has access to a limited degree. To be clear: the

 Oversight Board’s Special Claims Committee was unable to secure any access to the Document

 Depository—which contains research collected in the Investigation commissioned and funded by

 the Oversight Board itself—until six months after the issuance of the Final Report and four

     Procedures with Respect to Disclosure of Avoidance Actions to Be Asserted by Oversight Board, and (II)
     Expedited Briefing Schedule for Potential Request to Appoint Trustee Under Bankruptcy Code Section 926(a),
     at ECF No. 6086, and the timeline for disclosures prescribed therein.
 20 Also known as a “Paulian Action” pursuant to Puerto Rico civil code and applicable case law. See 31 L.P.R.A.
  §§ 3491-3500.


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 months after retaining Claims Counsel. Nonetheless, Claims Counsel will be seeking tolling

 agreements with potential defendants and, in the event tolling agreements may not be reached,

 will otherwise be prepared to commence actions against third parties prior to the May 2 statute of

 limitations.

                                     RELIEF REQUESTED

        58.     By this Motion, the Oversight Board seeks the entry of an order: (i) extending the

 two-year statute of limitations in section 546 of the Bankruptcy Code, solely as it pertains to

 claims for avoidance and recovery of payments on account of any Challenged Bonds, until a

 date not less than 90 days following the date that a ruling on the Joint Claim Objection, ERS

 Bond Objection, and/or Ad Hoc Objection, as applicable, becomes final and unappealable; or (ii)

 in the alternative, extending the statute of limitations by not less than 90 days to permit the

 Oversight Board sufficient time to identify the appropriate Challenged Bond Avoidance

 Defendants.

                                          ARGUMENT

                   Extraordinary Circumstances Warrant Equitable Tolling

        59.     The Oversight Board respectfully suggests it should be entitled to equitable

 tolling of the two-year statute of limitations in section 546 of the Bankruptcy Code as to

 avoidance and recovery of payments of principal and interest on the Challenged Bonds. Since its

 inception, the Oversight Board has been diligently pursuing its rights as the representative of the

 Commonwealth and other debtors. Unfortunately, extraordinary circumstances stand in the way

 of the Oversight Board’s ability to exercise its rights, and the Oversight Board is now concerned

 that preserving its rights and potentially valuable litigation claims would require incurrence of

 prohibitive and unnecessary costs both by the Commonwealth and potential litigation defendants.


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                The Oversight Board has
                Diligently Pursued its Rights Concerning Avoidance Actions.

        60.     Since the Petition Dates, the Oversight Board has diligently pursued its rights on

 behalf of the Commonwealth and other instrumentalities to uncover potential causes of action.

        61.     Section 546(a) of the Bankruptcy Code provides: “[a]n action or proceeding under

 544, 545, 547, 548, or 553 of this title may not be commenced after the earlier of — (1) the later

 of — (A) 2 years after the entry of the order for relief; or (B) 1 year after the appointment or

 election of the first trustee under section 702, 1104, 1163, 1202, or 1302 of this title if such

 appointment or such election occurs before the expiration of the period specified in subparagraph

 (A); or (2) the time the case is closed or dismissed.” 11 U.S.C. § 546(a).

        62.     Section 546 articulates a statute of limitations that may be tolled on equitable

 grounds. In re Int’l Admin. Services, Inc., 408 F.3d 689, 699 (11th Cir. 2005) (citing In re

 Rodriguez, 283 B.R. 112, 116–18 (Bankr. E.D.N.Y. 2001)); see In re Malavet, 552 B.R. 24, 32

 (Bankr. D.P.R. 2016) (referring to Section 546 of the Bankruptcy Code as a “statute of

 limitations”); In re Margaux Texas Ventures, Inc., 545 B.R. 506, 526 (Bankr. N.D. Tex. 2014)

 (noting that section 546 of the Bankruptcy Code “is without a doubt a statute of limitations”); see

 also In re Martin Levy Of Berlin D.M.D., P.C., 416 B.R. 1, 7 (Bankr. D. Mass. 2009) (collecting

 the clear majority of cases which hold that section 546 of the Bankruptcy Code “is a true statute

 of limitations and does not serve as a jurisdictional bar.”)

        63.     “For those statutes of limitation to which equitable tolling applies, a litigant who

 seeks tolling must establish at least two elements: (1) that he has been pursuing his rights

 diligently, and (2) that some extraordinary circumstances stood in his way.” Pace v.

 DiGuglielmo, 544 U.S. 408, 418, 125 S.Ct. 1807, 161 L.Ed.2d 669 (2005); cf. Negron-Santiago

 v. San Cristobal Hosp., 764 F. Supp. 2d 366, 371 (D.P.R. 2011); see also Neves v. Holder, 613
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 F.3d 30, 36 n. 5 (1st Cir. 2010) (quoting Jobe v. INS, 238 F.3d 96, 100 (1st Cir. 2001))

 (articulating additional factors for inquiry consistent with Pace).

        64.     Where a trustee “works long and hard to discover all the intricacies” of a debtor’s

 assets and prepetition financial affairs, a trustee exercises the requisite diligence warranting

 equitable tolling with respect to a potential avoidance or related action. See Int’l Admin., 408

 F.3d at 708 (noting that trustee hired forensic accountant to piece together the debtor’s complex

 “jigsaw puzzle of transfers”); see also In re Myler, 477 B.R. 227, 235 (Bankr. D. Utah 2012)

 (noting that requesting a 2004 examination of the debtor indicates diligence); In re IFS Fin.

 Corp., 02-39553, 2010 WL 4614293 at *5 (Bankr. S.D. Tex. Nov. 2, 2010) (suggesting that

 trustee had exercised diligence in initiating avoidance actions where trustee had filed over 100

 avoidance actions).

        65.     Indeed, the trustee’s diligence must be substantial to justify equitable tolling. For

 instance, in one New Jersey case, a trustee moved for an order equitably tolling the two-year

 statute of limitations in section 546 of the Bankruptcy Code as to unknown defendants for one

 year. From the inception of the case, the trustee, concurrently with the creditor’s committee,

 “conducted an aggressive investigation of the Debtors’ pre-petition activities involving hundreds

 of millions of dollars in pre-petition transfers . . . and other fraudulent activities involving

 numerous persons, entities, and banking institutions.” In re Solomon Dwek, et al., Case No. 07-

 11757 (KCF) (Bankr. D.N.J. 2009), Application in Support of the Chapter 11 Trustee’s Motion

 for Entry of an Order Equitably Tolling the Time Prescribed by 11 U.S.C. § 546 for the Trustee

 to Bring Avoidance Actions and Time Prescribed by 11 U.S.C. § 108 for the Trustee to Bring Any

 Action Under Applicable Nonbankruptcy Law Which Did Not Expire Prior to the Petition Date,

 ECF No. 3699-1 at ¶ 9.

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         66.     To conduct his investigation, the trustee in Dwek, diligently gathered “hundreds

 of thousands of documents relating to the Debtors’ businesses, manag[ed] all the residential and

 commercial properties, institut[ed] numerous adversary proceedings, analyz[ed] more than $1

 billion in claims filed against the various estates, and actively market[ed] [several of the Debtors’

 properties].” Id. at ¶ 13. The court granted the relief for good cause shown. Id. Order Equitably

 Tolling the Time Prescribed by 11 U.S.C. § 546 for the Chapter 11 Trustee to Bring Avoidance

 Actions and Time Prescribed by 11 U.S.C. § 108 for the Trustee to Bring Any Action Under

 Applicable Nonbankruptcy Law Which Did Not Expire Prior to the Petition Date, at ECF No.

 3790.

         67.     Here, the Oversight Board has exercised material diligence to warrant equitable

 tolling of the section 546 statute of limitations.

         68.     Similar to the trustee in International Administrative Services, the Oversight

 Board has “worked long and hard to discover all of the intricacies” of the Commonwealth’s debt

 issuances, economic history, and four-years’ worth of prepetition transfers. To obtain the proper

 context to the possible causes of action it could assert, the Oversight Board commissioned the

 Investigation. The Investigation, by itself, was a massive feat in understanding, distilling, and

 identifying decades of debt issuance practices. In turn, the 600-page Final Report was the

 culmination of a year’s work in reviewing millions of pages and conducting hundreds of

 interviews.

         69.     The Oversight Board’s diligence did not end with the Final Report. The merits of

 the Final Report notwithstanding, it provided only an analytical outline of potential causes of

 action which the Oversight Board might hold, and did not identify potential Avoidance Actions.

 The Oversight Board, in the exercise of its fiduciary duties under the Bankruptcy Code and

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 consistent with its purpose under PROMESA, appointed the independent Special Claims

 Committee to assess and pursue, among other things, Avoidance Actions.

        70.     The Special Claims Committee acted promptly on its mandate when, in

 conjunction with the UCC, it filed the Joint Claim Objection upon Claims Counsel’s

 recommendation. It is worth noting that Claims Counsel researched legal and factual issues

 surrounding the First Challenged GO Bonds, issued its recommendation to the Special Claims

 Committee, and collaborated in preparing the Joint Claim Objection over a period of only six

 weeks following its retention, which period fell over the December and January holidays.

        71.     In addition to the Joint Claim Objection and analysis of the Final Report, the

 Special Claims Committee has deployed substantial efforts through Claims Counsel to review

 the documents in the Document Depository to assist it in identifying meritorious causes of

 actions. The Document Depository houses several thousands of pages of AAFAF documents,

 underwriters’ documents, bond counsel’s documents, and others. Claims Counsel continues to

 conduct a full-time primary review of these documents, reporting to and coordinating with teams

 of other attorneys conducting simultaneous secondary reviews specific to different Title III

 debtors, bond issuances, and categories of investigation.

        72.     Furthermore, the Special Claims Committee has made frequent and numerous

 inquiries to other professionals involved in the Title III cases in order to obtain reports, financial

 data, presentations, and other materials necessary for the Special Claims Committee to assert its

 causes of action. For example, in connection with the Joint Claim Objection and in connection

 with Claims Counsel’s analysis of the PBA’s legal and bond structure, Claims Counsel has made

 inquiries to AAFAF and its advisors on numerous occasions to understand the assumptions and

 conclusions of several of its PBA reports.

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        73.     Similar to Dwek, concurrently with the Oversight Board’s efforts concerning the

 Joint Claim Objection and in cooperation with the UCC and each parties’ respective financial

 advisers, the Oversight Board has been examining a voluminous four-year history of the

 Commonwealth ’s and other debtors’ prepetition payments. The delivery of these records has

 been piecemeal. Nonetheless, as a result of these efforts and the Oversight Board’s insistence

 that a four-year, rather than two-year, payment history be reviewed, the Oversight Board has

 identified a preliminary list of potential Avoidance Actions which the Oversight Board is

 considering pursuing. Before the statute of limitations expires, the Oversight Board anticipates

 filing potentially several hundred Avoidance Actions as a result of its diligence.

        74.     The Oversight Board has met its burden to show that it has exercised substantial

 diligence to assert potential Avoidance Actions and other related third party causes of action.

                Extraordinary Circumstances Impede the Filing of Avoidance Actions.

        75.     Despite the Oversight Board’s diligence, extraordinary circumstances stand in the

 way of the Oversight Board timely filing avoidance and recovery actions against appropriate

 Challenged Bond Avoidance Defendants, i.e., recipients of payments on the Challenged Bonds.

        76.     The doctrine of equitable tolling requires that extraordinary circumstances not of

 the plaintiff’s own contrivance prevent it from timely filing litigation. See Jardin De Las

 Catalinas Ltd. P’ship v. Joyner, 766 F.3d 127, 135 (1st Cir. 2014) (where the plaintiffs “delay in

 bringing suit was of their own contrivance,” extraordinary circumstances do not warrant

 equitable tolling); Int’l Admin., 408 F. 3d at 702; Neverson v. Farquharson, 366 F.3d 32, 42 (1st

 Cir. 2004).

        77.     In International Administrative Services, the Eleventh Circuit found that

 extraordinary circumstances prevented the trustee from timely asserting avoidance actions


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 where, despite the trustee’s diligence in discovering the intricacies of the debtor’s assets and

 hiring a forensic accountant to piece together the debtor’s transfers, “[t]he case was replete with

 discovery violations, mostly in the form of the Debtor and its associates’ refusals to supply the

 Trustee with critical and important documentation.” Int’l Admin., 408 F.3d at 702. Further, the

 Eleventh Circuit found that it could have been malpractice for the trustee to file an avoidance

 action without the information contained in the documents. Id.

        78.     Similarly, in Dwek, extraordinary circumstances prevented the trustee from timely

 asserting avoidance actions against unknown defendants because the trustee was (i) unable to

 conduct a thorough 2004 examination of the debtor, where the United States Attorney obtained

 an ex parte order from the bankruptcy court delaying the 2004 examination of the debtor; (ii) the

 debtor had sparse records of financial transactions, “including potentially fraudulent transfers,”

 and the documents that existed were in the FBI’s possession; and (iii) the trustee secured

 turnover of the documents from the FBI, but the turnover had been delayed after the debtor

 asserted that some documents were privileged. Case No. 07-11757 (KCF) (Bankr. D.N.J. 2009),

 ECF Nos. 3699-1 at ¶ ¶ 16-19, 3790.

        79.     Here, similar to International Administrative Services and Dwek, extraordinary

 circumstances not contrived by the Oversight Board have prevented it from uncovering

 foundational information necessary to initiate an avoidance and recovery action against unknown

 holders of the Challenged Bonds. Despite its best efforts, the Oversight Board does not have the

 information needed to file the Challenged Bonds Avoidance Actions. Indeed, having only

 recently received the Ad Hoc Objection, the Oversight Board has had no time or ability even to

 request such information as to the PBA Bonds or the Second Challenged GO Bonds.




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        80.          This Court’s experience with the Joint Claim Objection and the attendant Initial

 Procedures Motion has given it a glimpse of the extraordinary circumstances concerning the

 identification of purported holders of Challenged Bonds. Had the Oversight Board and the UCC

 not proposed, negotiated and litigated a rigorous notice procedure, the purported holders of

 Challenged GO Bonds stood to force the Commonwealth to repay potentially unconstitutional

 debts, with the Commonwealth having never had its day in court, simply because the lack of an

 indenture     trustee     ironically impeded      due     process   for   bondholders   in   establishing

 unconstitutionality.       Fortunately, this Court recognized the importance of the Joint Claim

 Objection and established the Procedures. Similarly, purported current and former holders of

 Challenged Bonds now stand to retain funds potentially unlawfully transferred away from estate

 coffers, simply because the identity of the recipients of payments made on account of the

 Challenged Bonds is a procedural and practical quagmire.

        81.          Such an inequitable result cannot stand. The Oversight Board did not anticipate

 that it would largely be unable to obtain records regarding the hundreds of millions of dollars

 paid to purported holders of Challenged Bonds.

        82.          Although the extraordinary diligence efforts of the Oversight Board have been

 documented repeatedly in this Motion, the Oversight Board reiterates that this situation is not its

 own making. In brief:

              i.         The Oversight Board did not exist until after the Challenged Bonds were
                         issued, and has never been responsible for any issuer’s record-keeping
                         practices or its decision not to appoint a paying agent or indenture trustee;

              ii.        The Oversight Board acted promptly to commission the Investigation and
                         Final Report;

              iii.       Following publication of the Final Report, the Oversight Board acted
                         promptly to appoint the Special Claims Committee, which in turn acted


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                  promptly to retain appropriate professionals to investigate litigation
                  claims;

          iv.     Claims Counsel acted promptly to secure access to diligence documents
                  supporting the Final Report and obtain other payment records and
                  diligence information, a process which has taken many months despite
                  best efforts;

          v.      Since securing access to the Document Depository, Claims Counsel has
                  vigorously searched for, among other things, information regarding
                  payments and holder identities for the Challenged GO Bonds. Claims
                  Counsel continues to examine these documents, thus far without success
                  as to the identity of recipients of payments to the Challenged GO Bonds;

          vi.     The Special Claims Committee acted promptly to secure access to the
                  UCC 2004 Examination production materials which were believed to
                  provide a comprehensive payment history for each debtor, has reviewed
                  thousands of prepetition transfers and voluminous excel files, and has
                  concluded that the materials do not identify all beneficial holders of
                  bonds paid during the applicable lookback periods;

          vii.    The Oversight Board has made simultaneous inquiries to AAFAF, the
                  Oversight Board’s bankruptcy counsel, AAFAF’s financial advisers, the
                  UCC’s counsel and financial advisers, and countless other parties, none
                  of which have been able to identify payment recipients for all of the
                  Challenged Bonds;

          viii.   The Oversight Board is working with Prime Clerk and DTC to obtain the
                  Securities Position Reports believed to provide information about the
                  Participant Holders that received payments on account of the First
                  Challenged Bonds GO during the relevant time periods. At the time of
                  this filing, Claims Counsel has requested approximately five hundred and
                  ninety-six reports through Prime Clerk, which it has not received and will
                  require time to review;

          ix.     Based on Securities Position Reports received for different purposes, the
                  Oversight Board has already begun contacting entities it reasonably
                  believes to be Participant Holders, so as to identify beneficial holders of
                  First Challenged GO Bonds who received payments in respect of
                  purported principal and interest, so far without success; and

          x.      The Oversight Board only recently received the ERS Bond Objection and
                  Ad Hoc Objection, which were prepared by other parties. As a result, the
                  Oversight Board has only recently begun the significant diligence
                  necessary to identify beneficial holders of the other Challenged Bonds.


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        83.     Challenged Bond Avoidance Defendants should not escape the reach of a

 bankruptcy trustee’s strong-arm powers, and retain funds rightfully belonging to the

 Commonwealth under its constitution and applicable federal statute, merely because record-

 keeping impediments prevent the Oversight Board from identifying them. The Oversight Board

 has met its burden to show that extraordinary circumstances stand in the way of timely filing

 avoidance and recovery actions against the Challenged Bond Avoidance Defendants.

                Even if the Oversight Board Is Able to Obtain
                All Necessary Information to Timely File Avoidance Actions,
                Such Efforts Would Be Premature and Unnecessary.

        84.     Diligence and extraordinary circumstances notwithstanding, the propriety of

 equitable tolling should be determined on a case-by-case basis. In re McKenzie, 08-16378, 2011

 WL 6140516, at *30 (Bankr. E.D. Tenn. Dec. 9, 2011), aff’d, 1:11-CV-192, 2012 WL 4742708

 (E.D. Tenn. Oct. 2, 2012), aff’d, 737 F.3d 1034 (6th Cir. 2013) (citations omitted) (noting that

 “there is more to be weighed in this case than a failure to conduct due diligence on the part of the

 trustee” and granting equitable tolling where trustee failed diligence test, but trustee showed

 defendant misled him).

        85.     The Oversight Board’s efforts to discover the identity of purported holders of

 Challenged Bonds could be a futile exercise and a waste of estate resources in light of the

 ongoing litigation required to support the relevant avoidance and recovery claims, the outcome

 of which litigation is currently uncertain. To be clear, any potential avoidance and recovery

 action related to payments on account of the Challenged Bonds would be premised on a final

 judgment that the Challenged Bonds were invalid when issued and thus null and void. Unless

 and until the Court so holds, no avoidance and recovery action contemplated herein could

 succeed.


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        86.     Given this uncertainty, at this time, any avoidance and recovery action by the

 Oversight Board to recover payments made on account of the Challenged Bonds invites litigation

 which will deplete estate resources without sufficient cause. Even if the Oversight Board can

 identify the appropriate Challenged Bond Avoidance Defendants, requiring the Oversight Board

 (and, thus, the Commonwealth) to incur significant expenses to do so, and to prosecute the

 Avoidance Actions, would be premature. Similarly premature resource expenditures would be

 required of individual and institutional defendants and the Court. The Procedures related to the

 Joint Claim Objection, and the negotiation and litigation preceding their approval, highlight the

 significant effort required from all parties merely to ensure due process, let alone litigate

 substantive issues.

        87.     Such a potentially wasteful expenditure is at odds with the Oversight Board’s

 purpose “to provide a method for a covered territory to achieve fiscal responsibility and access to

 the capital markets.” PROMESA § 101(a); cf. In re Infinity Bus. Group, Inc., 10-06335-JW,

 2011 WL 9375422, at *4 (Bankr. D.S.C. June 22, 2011), supplemented, CA 10-06335-JW, 2011

 WL 9375725 (Bankr. D.S.C. July 15, 2011) (holding that wasteful litigation should be stayed to

 allow trustee time to file complaint expected to raise the same issues as pending litigation).

        88.     The Oversight Board respectfully submits that in the extraordinary circumstances

 presented by these allegedly void Challenged Bonds and the related, unusual and potentially

 valuable avoidance and recovery actions, equity compels tolling the statute of limitations for

 prosecution of the Challenged Bonds Avoidance Actions until such time as both the legal basis

 and the appropriate defendants for such actions may be more firmly established.




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                                               NOTICE

        89.     The Oversight Board has provided notice of this Motion to: (i): the Chambers of

 the Honorable Laura Taylor Swain; (ii) the Office of the United States Trustee for Region 21;

 (iii) AAFAF; (iv) counsel for AAFAF; (v) counsel for the Oversight Board; (vi) Counsel for the

 Creditors’ Committee; (vii) Counsel for the Retiree Committee; (viii) the entities listed on the

 List of Creditors Holding the 20 Largest Unsecured Claims in COFINA’s Title III case; (ix)

 counsel to any other statutory committee appointed in these Title III Cases; (x) counsel to any ad

 hoc bondholder group which has filed a Federal Rule of Bankruptcy Procedure 2019 statement in

 these Title III Cases; (xi) counsel to Bank of New York Mellon as agent with respect to the ERS

 Bonds; (xii) counsel to U. S. Bank Trust National Association, Banco Popular de Puerto Rico,

 Bank of New York, and U.S. Bank as agents with respect to the PBA Bonds; (xiii) counsel to the

 Ad Hoc GO Bondholders; and (xiv) counsel to any Participant Holders already identified or

 believed to be identified.

                                           CONCLUSION

        WHEREFORE, the Oversight Board respectfully requests that this Court enter an order:

 (i) granting this Motion in its entirety; (ii) extending the deadline set forth in section 546 of the

 Bankruptcy Code, as pertaining to claims for avoidance and recovery of payments on account of

 any Challenged Bonds in the four-year period preceding the applicable Petition Dates, until a

 date not less than 90 days following the date that a ruling on the Joint Claim Objection, ERS

 Bond Objection, and/or Ad Hoc Objection, as applicable, becomes final and unappealable; and

 (iii) granting such relief at the Court deems just and appropriate under the circumstances. In the

 alternative to the relief requested in (i)-(iii), the Oversight Board requests that this Court enter an




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 order: (i) granting this Motion in part; and (ii) extending the deadline set forth in section 546 of

 the Bankruptcy Code as by 90 days as to such claims.



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 Dated: April 2, 2019

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                                  Exhibit A
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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO
 ---------------------------------------------------------------------- X
                                                                        :
 In re:                                                                 :
                                                                        :
 THE FINANCIAL OVERSIGHT AND                                            : PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                        :
                   as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                        :
 THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                        :
                   Debtors.1                                            :
 ---------------------------------------------------------------------- X

     [PROPOSED] ORDER EQUITABLY TOLLING THE TIME PRESCRIBED BY 11
             U.S.C. § 546 TO BRING CERTAIN AVOIDANCE ACTIONS


          Upon the motion dated April 2, 2019 (the “Motion”)2 of the Oversight Board, acting

 through its Special Claims Committee, pursuant to section 546 of the Bankruptcy Code, made

 applicable to this proceeding by section 301(a) of the Puerto Rico Opportunity Management and

 Economic Stability Act of 2016 (“PROMESA”), 48 U.S.C. § 2161(a); and the Court having

 jurisdiction over this matter under 28 U.S.C. 1331, and under section 306(a)-(b) of PROMESA,

 48 U.S.C. §2166(a)-(b); and venue being proper under section 307(a) of PROMESA, 48 U.S.C. §

 2167(a); and due and proper notice of the Motion having been provided, and it appearing that no



 1 The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four (4)
  digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
  (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
  Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax
  ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567
  (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four Digits of Federal
  Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780
  (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as Bankruptcy Case numbers
  due to software limitations).
 2 Capitalized terms not defined in this Order shall have the meanings ascribed to them in the Motion.
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 other or further notice need be provided; and the Court having reviewed the Motion and

 opposition thereto and having heard the statements of counsel at the hearing held before the

 Court (the “Hearing”); and the Court having determined that the legal and factual bases set forth

 in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

 the proceedings had before the Court and after due deliberation and sufficient cause appearing

 therefore, it is hereby

          ORDERED that this Motion is granted; and it is further

          ORDERED that the statute of limitations in section 546 of the Bankruptcy Code as

 applied to the Oversight Board’s efforts to file actions for avoidance and recovery of payments

 made on account of Challenged Bonds is hereby extended to and includes a date not less than 90

 days following the date that a ruling on the Joint Claim Objection, ERS Bond Objection, or Ad

 Hoc Objection, as applicable to any such Challenged Bonds, becomes final and unappealable.




 Dated: _______________, 2019




                                                      ____________________________________
                                                                 Honorable Laura Taylor Swain
                                                                    United States District Judge
 00376612.1




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